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5
     EDGAR JIMENEZ
6

7

8                                  UNITED STATES DISTRICT COURT

9                                 EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,                           Case No.: 2:18-cr-010 TLN
12
                     Plaintiff,
13
     vs.                                                 STIPULATION AND ORDER
14                                                       REQUESTING SENTENCING
     EDGAR JIMENEZ,                                      INFORMATION CONTAINED IN COURT
15                                                       REPORTER’S NOTES
16                   Defendant.

17

18

19

20          Plaintiff United States of America by and through Assistant United States Attorney Justin

21   Lee, and Attorney Todd Leras on behalf of Defendant Edgar Jimenez, stipulate as follows:
22
            1.    This matter came before the Court for a sentencing hearing on September 19, 2019.
23
                  By this stipulation, Defendant Edgar Jimenez moves the Court for an order requiring
24
                  the court reporter assigned to transcribe the hearing, Kimberly Bennett, to relay (via
25

26                email) to the parties information about the length of the Court’s indicated and

27                imposed sentence.
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1         2. The Court proceeded to impose upon Mr. Jimenez a sentence of imprisonment for a
2
             violation of 21 U.S.C. § 843(b) (Use of Telephone to Facilitate a Drug Trafficking
3
             Offense). Defense counsel and two members of his family attending the hearing
4
             believed that the Court imposed a sentence of 40-months, followed by a one year
5

6            term of supervised release. The government believes that the sentence of 48-months,

7            the statutory maximum, was indicated and imposed.
8
          3. On September 25, 2019, a document entitled “Judgment in a Criminal Case” (ECF
9
             Entry 109) was filed in this matter imposing a sentence of 48-months. The next day
10
             after discussing the matter with family members who attended the sentencing hearing,
11

12           defense counsel emailed the court reporter requesting preparation of an expedited

13           transcript to clarify the Court’s indicated and imposed sentence. The court reporter
14
             indicated in a reply email that due to workload issues a transcript could not be
15
             prepared for approximately 30-days. Rule 35(a) of the Federal Rules of Criminal
16
             Procedure requires that any correction of a technical or clear error occur within 14
17

18           days of the sentencing hearing.

19        4. Defense counsel conferred with both the assigned prosecutor and the prosecutor who
20
             handled the sentencing hearing about the length of the indicated and imposed
21
             sentence to determine whether an error occurred. The prosecutor who attended the
22
             sentencing hearing believes 48-months to be the correct sentence length. The parties
23

24           were therefore unable to resolve the dispute informally as to length of sentence.

25        5. Defendant Edgar Jimenez requests that the Court direct the court reporter to consult
26
             the notes for the sentencing hearing and relay to the parties via email the length of the
27
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1               Court’s indicated and imposed sentence. Given the time constraints under Rule 35(a)
2
                the parties request that the court reporter provide the information no later than 5:00
3
                p.m. on October 2, 2019. The parties anticipate that, if warranted by the information
4
                in the court reporter’s notes, a stipulation for correction of the “Judgment in a
5

6               Criminal Case” may be filed. The proposed procedure appears to be the least

7               burdensome means of resolving a discrepancy regarding the length of the sentence
8
                imposed in this case.
9
            Assistant U.S. Attorney Justin Lee has reviewed this proposed order and authorized Todd
10
     Leras via email to sign it on his behalf.
11

12
     DATED: October 1, 2019
13                                                         By     /s/ Todd D. Leras for
                                                                  JUSTIN LEE
14
                                                                  Assistant United States Attorney
15
     DATED: October 1, 2019
16                                                         By     /s/ Todd D. Leras
                                                                  TODD D. LERAS
17
                                                                  Attorney for Defendant
18                                                                EDGAR JIMENEZ

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              Case 2:18-cr-00010-TLN Document 117 Filed 10/01/19 Page 4 of 4


1                                                 ORDER
2
            BASED ON THE REPRESENTATIONS AND STIPULATION OF THE PARTIES, it is
3
     hereby ordered that Kimberly Bennett, the court reporter assigned to transcribe the sentencing
4
     hearing in this matter held on September 19, 2019, review any notes regarding the length of the
5

6    indicated and imposed sentence. The court reporter is further directed to relay, via email, to the

7    assigned prosecutor and defense counsel the length of the Court’s indicated and imposed
8
     sentence as to Edgar Jimenez. The information shall be relayed no later than 5:00 p.m. on
9
     October 2, 2019. A copy of the signed order shall be served on the assigned court reporter by
10
     defense counsel via email forthwith.
11

12          IT IS SO ORDERED.

13   Dated: October 1, 2019
14

15

16
                                        Troy L. Nunley
17                                      United States District Judge
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     ORDER CONTINUING STATUS
28   CONFERENCE
